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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                              13;;,'} 29 Pli 1= 2'

 UNITED STATES OF AMERICA,                            CASE NO. 12CR3896-DMS

                                    Plaintiff,
                                                                                         ~DEPUTY

                     vs.                              JUDGMENT OF DISMISSAL
 GEORGE ERNESTO ARGUETA (1) ,

                                  Defendant.


              IT APPEARING that the defendant is now entitled to be discharged for the reason that:

       an indictment has been filed in another case against the defendant and the Court has granted the
       motion of the Government for dismissal of this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

--X- the Court has granted the motion of the Government for dismissal without prejudice; or
       the Court has granted the motion of the defendant for dismissal/judgment of acquittal; or

       a jury has been waived, and the Court has found the defendant not guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

-X- of the offense(s) as charged in the Indictment:
           21 USC 841Will18 USC 2

               IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED:     March 29,2013                                            s'~m~
                                                           Hon. DANA M. SABRAW
                                                           UNITED STATES DISTRICT JUDGE
